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UNITED STATES DISTRICT COURT

FOR THE
DISTRICT OF VERMONT
Gregory Fitzgerald
Petitioner
v. Case No. 2:20-cv-190

James Baker,
Commissioner of the Vermont
Department of Corrections
Respondent

 

STIPULATED MOTION TO EXTEND TIME FOR RESPONDENT TO FILE AN
ANSWER

NOW COME the Parties and request that the time for Respondent to file an
answer be enlarged to February 7, 2022. The Partics have reached a scttlement of
both Petitioner’s state post-conviction relief matter and this habeas corpus petition
and have filed the settlement with the state PCR court. The settlement includes
Petitioner dismissing this habeas petition with prejudice. The state PCR court has
indicated its willingness to accept the stipulated settlement, and the Parties have
asked the state PCR court for a final hearing where the settlement will be
completed. The Parties have asked that this hearing be held Thursday, January 13,
2022. If the hearing happens at that time, this habeas petition will be dismissed on

that date or shortly thereafter.

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DATED at Burlington, Vermont January 7, 2022.

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